2013 VT 37



Ayer and Ayer v. Hemingway,
Hemingway Construction and Harris (2011-431)

&nbsp;

2013 VT 37

&nbsp;

[Filed 24-May-2013]

&nbsp;

NOTICE:&nbsp; This opinion is
subject to motions for reargument under V.R.A.P. 40 as well as formal revision
before publication in the Vermont Reports.&nbsp; Readers are requested to
notify the Reporter of Decisions by email at: JUD.Reporter@state.vt.us or by
mail at: Vermont Supreme Court, 109 State Street, Montpelier, Vermont
05609-0801, of any errors in order that corrections may be made before this
opinion goes to press.

&nbsp;


  2013 VT 37
  
 &nbsp;


  No. 2011-431
  
 &nbsp;


  Patrick Ayer and Terese Ayer
  
  
  Supreme Court
  
 
  &nbsp;
  
  
  &nbsp;
  
 
  &nbsp;
  
  
  On Appeal from
  
 
  &nbsp;&nbsp;&nbsp;&nbsp; v.
  
  
  Superior Court, Grand Isle
  Unit,
  
 
  &nbsp;
  
  
  Civil Division
  
 
  &nbsp;
  
  
  &nbsp;
  
 
  Louis Hemingway, III,
  Individually and d/b/a 
  Hemingway Construction and Frances Harris, et al.
  
  
  October Term, 2012
  
 
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  &nbsp;
  
 
  &nbsp;
  
  
  &nbsp;
  
 
  Martin
  A. Maley, J.
  
 
  &nbsp;
  
 George E. Spear, II, Swanton, and Michael Rose, St. Albans,
for Plaintiffs-Appellants.

&nbsp;

Timothy G. Hurlbut, St. Albans,
for Defendant-Appellee.

&nbsp;

&nbsp;

PRESENT:&nbsp;&nbsp; Reiber, C.J., Dooley, Burgess and
Robinson, JJ., and Crawford, Supr. J.,

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;
Specially Assigned

&nbsp;

&nbsp;

¶ 1.&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;
BURGESS, J.&nbsp;&nbsp; Plaintiffs Patrick and Terese Ayer appeal from the trial court’s order granting
summary judgment to defendants Frances Harris and Louis Hemingway, III, in this
foreclosure case.&nbsp; The Ayers argue that the court erred in concluding that
their judgment lien had expired.&nbsp; We affirm.

¶ 2.&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;
This case involves plaintiffs’ longstanding attempts to collect a debt
from defendant Hemingway, individually and d/b/a Hemingway Construction.&nbsp;
Plaintiffs obtained a default judgment against Hemingway in February 2001 for
$6830 plus costs of $179.66, with interest accruing at 12% per year (“the 2001
judgment”).&nbsp; The 2001 judgment order did not specify a payment schedule.
&nbsp;Plaintiffs subsequently secured a nonpossessory
writ of attachment against Hemingway’s nonexempt goods and estate. 

¶ 3.&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;
In November 2004, plaintiffs filed a motion for a possessory writ of
attachment.&nbsp; After Hemingway failed to appear at a
hearing on the motion, and with court approval, plaintiffs made service by
publication pursuant to Vermont Rule of Civil Procedure 4(g).&nbsp;
Hemingway subsequently objected to the motion, filing an answer with the court
stating, “I did pay my payments until my checks were forged into larger
ones.”&nbsp; Prior to the contested hearing on these issues, the parties
reached an agreement and the trial court issued a stipulated amended order in
January 2006 (the “2006 order”).&nbsp; In that order the court recounted that
Hemingway had paid only $1150 toward his debt and that, as of September 8,
2005, he owed plaintiffs $11,400.&nbsp; The court wrote:&nbsp; “An amended
judgment in this matter is granted for the Plaintiffs against the Defendants as
of September 8, 2005 in the amount of $11,400.”&nbsp; The order included the
parties’ stipulated payment plan, with interest accruing at 6% rather than 12%,
but stated that if Hemingway defaulted on the payment plan, plaintiffs would be
entitled to interest at the rate of 12%, as well as all remedies available to
them under Vermont law.[1]&nbsp;


¶ 4.&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;
In July 2008, plaintiffs recorded a “Notice of Judgment Lien” in the Alburgh Town Clerk’s Office on “all real property held by
[Hemingway] in Alburgh” in the amount of $11,400.
&nbsp;The notice stated that the lien had been perfected by recording a
certified copy of a judgment obtained against Hemingway.[2]&nbsp; 

¶ 5.&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;
In 2010, Frances Harris brought an unrelated action against Hemingway
for damages. &nbsp;In connection with that action, on August 25, 2010,
Hemingway conveyed to Harris two lots in Alburgh that
Hemingway had acquired in 2006.&nbsp; At the same time, the trial court issued
a stipulated judgment order that, among other things, awarded Harris judgment
against Hemingway in the amount of $11,400 plus interest at 12% from September
8, 2005 until the release of the lien in favor of plaintiffs, required
Hemingway to keep current on payments to plaintiffs pursuant to a written
payment agreement signed by Hemingway and plaintiff Terese
Ayer, and provided that if Hemingway defaulted on the lien, he would be liable
to Harris for any costs, including attorney’s fees, to obtain a release of the
lien.&nbsp; 

¶ 6.&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;
The agreement signed by plaintiff Terese Ayer
and Hemingway on August 23, 2010, providing that Hemingway would pay Ayer $7050
over thirty-nine months to settle his debt, was filed with the Harris-Hemingway
stipulation.&nbsp; In this agreement, Hemingway stated that he would pay Ayer
$201.02 per month for 3.25 years to pay the outstanding debt of $7050, agreed
that a lien would remain on his property in Alburgh
until the judgment was paid in full, and acknowledged that if he defaulted on
his payments, the interest rate would revert to 12% and be recalculated based
on the adjusted amount of $11,400 as reflected in the January 2006 order.&nbsp;


¶ 7.&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;
In May 2011, plaintiffs filed a complaint seeking to foreclose on their
judgment lien.&nbsp; Plaintiffs alleged that Hemingway defaulted on his
agreement and violated the 2006 order by failing to make any payments after
January 2008.&nbsp; Based on the terms of the 2010 payment modification
agreement and the 2006 order, plaintiffs asserted that Hemingway owed them
$8597 in principal and $3312 in interest at 12% per annum.&nbsp; Plaintiffs
cited the 2006 order as the controlling order and asked the court to renew or
revive this order.&nbsp; 

¶ 8.&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;
Plaintiffs named Harris as a defendant in this action because she had
acquired the real property upon which they sought to foreclose from Hemingway
after plaintiffs’ judgment lien was filed, as noted above.&nbsp; 

¶ 9.&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;
Hemingway filed an unverified answer to plaintiffs’ complaint,
acknowledging his debt to plaintiffs and offering to make immediate payments
pursuant to the 2010 agreement.&nbsp; Harris also filed an unverified
answer.&nbsp; Plaintiffs moved for a default judgment, but the court denied
their request, granting defendants additional time to file answers that were
verified or supported by affidavits.&nbsp; Harris responded to this order;
Hemingway did not.&nbsp; Harris later moved for summary judgment, and
plaintiffs filed a cross-motion for summary judgment and default.&nbsp; 

¶ 10.&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; In
January 2011, the trial court granted Harris’s motion for summary
judgment.&nbsp; As discussed in additional detail below, the court found that
plaintiffs’ judgment lien was no longer effective because more than eight years
had elapsed from the issuance of the original final judgment on which it was
based.&nbsp; See 12 V.S.A. §&nbsp;2903(a).&nbsp; In reaching its conclusion,
the court rejected plaintiffs’ assertion that the 2001 judgment had been
renewed or revived by the 2006 stipulated amended order.&nbsp; As the court
explained, revival required the filing of a new and independent action on the
judgment, see 12 V.S.A. §&nbsp;506, which had not occurred here.&nbsp; 

¶ 11.&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; The
court also rejected the plaintiffs’ contention that the 2006 order was a new
“final judgment” from which a new eight-year period began to run.&nbsp; The
court found that the 2001 order had ended the litigation and disposed of the
subject matter before the court while the 2006 agreement merely set forth a payment
schedule to carry that judgment into effect.&nbsp; For this and other reasons,
the court concluded that the plaintiffs’ lien could not be foreclosed upon, and
it thus granted Harris’s request for summary judgment.&nbsp; This appeal
followed.&nbsp; 

¶ 12.&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Plaintiffs
maintain that their foreclosure action is timely.&nbsp; They first assert that
they renewed the 2001 judgment by filing the functional equivalent of a new
complaint.&nbsp; Although the pleading that led to the 2006 order was captioned
as a “Motion for a Possessory Writ of Attachment” and utilized the same docket
number as the original action, plaintiffs filed a summons and served the motion
on Hemingway pursuant to the provisions of Rule 4(g) for service upon
initiation of a new action.&nbsp; For that reason, plaintiffs argue that their
motion for a possessory writ of attachment provided Hemingway with notice and
an opportunity to be heard, and it should be considered a “new and independent
action.” &nbsp;Alternatively, plaintiffs argue that the 2006 order should be
considered a new final judgment.&nbsp; 

¶ 13.&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; We
review a grant of summary judgment using the same standard as the trial
court.&nbsp; Richart v. Jackson, 171 Vt. 94, 97, 758 A.2d 319, 321 (2000).&nbsp;
Summary judgment is appropriate “when, taking all allegations made by the
nonmoving party as true, there are no genuine issues of material fact and the movant is entitled to judgment as a matter of law.”&nbsp; Id.; V.R.C.P. 56(c).&nbsp; Summary judgment was
properly granted to defendants here.&nbsp; 

¶ 14.&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; As
the trial court recognized, a judgment lien is effective only “for eight years
from the issuance of a final judgment on which it is based.”&nbsp; 12 V.S.A. §&nbsp;2903(a).&nbsp; The default judgment against
Hemingway was entered on February 2, 2001, and plaintiffs did not file their
foreclosure complaint until May 10, 2011, outside the eight-year period.&nbsp;
Thus, the judgment lien was no longer in effect when the complaint was filed
and plaintiffs were not entitled to foreclose on the judgment lien.&nbsp; 

¶ 15.&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; While
the law allows for the renewal of judgments within the eight-year statutory
period, see 12 V.S.A. §&nbsp;506, such judgments can be renewed only by the
filing of a “new and independent suit commenced in accordance with Rule
3.”&nbsp; Nelson v. Russo, 2008 VT 66, ¶&nbsp;6, 184
Vt. 550, 956 A.2d 1117 (mem.).&nbsp; They
cannot be renewed by motion.&nbsp; Id.&nbsp; Our decision in Russo
was designed to clarify the law in this area given the absence of a specific
statute addressing the process for renewing judgments and a confusing reference
to renewal by motion in the civil rules.&nbsp; Id.
¶&nbsp;12.&nbsp; 

¶ 16.&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; As
plaintiffs acknowledge, they did not file a new complaint on the
judgment.&nbsp; Instead, they filed a motion for a possessory writ of
attachment and eventually entered into a stipulated agreement with Hemingway
regarding his payment of the 2001 debt. &nbsp;While Hemingway may have had
notice and an opportunity to respond to plaintiffs’ motion, that does not
transform their motion into a complaint. &nbsp;Russo plainly requires a
new and independent suit initiated by the filing of a complaint, not the filing
of something that is arguably akin to a complaint.&nbsp; Any other conclusion
would reintroduce uncertainty into the judgment renewal process.&nbsp; We thus
hold that the 2001 judgment was not properly renewed.

¶ 17.&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Plaintiffs
next assert that the 2006 order constitutes a new “final judgment” for purposes
of 12 V.S.A. §&nbsp;2903(a).&nbsp; According to plaintiffs, the 2006 order not
only reaffirmed the monetary judgment in the 2001 order, but it also settled any
potential disputes regarding what payments Hemingway had made and what interest
was owed. &nbsp;Had the parties not reached an agreement, plaintiffs continue,
Hemingway would have been allowed to appeal from the 2006 order.&nbsp; 

¶ 18.&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; We
find these arguments unpersuasive.&nbsp; The “final judgment” that triggered
the running of the statute of limitations was the 2001 default order. &nbsp;It
was this order that ended the litigation between the parties and finally
disposed of the subject matter before the court.&nbsp; See Youngbluth
v. Youngbluth, 2010 VT 40, ¶&nbsp;18, 188 Vt. 53,
6 A.3d 677 (final judgment is one whose effect is to end litigation); In re Armitage, 2006 VT 113, ¶ 6, 181 Vt. 241, 917 A.2d 437
(final judgment is one that “makes a final disposition of the subject matter
before the Court” (quotation omitted)).&nbsp; The 2006 order merely set forth
an agreed-upon payment plan for the 2001 debt.&nbsp; It was not a new decision
on the merits.&nbsp; The fact that this order might have been appealable does
not change this result.&nbsp; 

¶ 19.&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Any
other holding would create a continually moving statute of limitations.&nbsp;
Trial courts routinely issue post-judgment orders that identify payments made
and interest that has accrued.&nbsp; Were we to construe each of these orders
as starting a new limitations period, a party could extend the life of a
judgment lien indefinitely by filing motions to reduce additional accrued
interest to judgment.&nbsp; The statute does not contemplate this result, and
the need for certainty and predictability in the law compels us to reject such
an approach.&nbsp; The statute of limitations runs from a single ascertainable
moment—the issuance of a final judgment on the merits.&nbsp; That occurred here
in 2001.&nbsp; While plaintiffs were hardly sleeping on their rights, they
failed to bring an appropriate action within eight years of this date.&nbsp;
Plaintiffs’ right to foreclose on a judgment lien tied to the 2001 judgment
consequently expired.&nbsp; Given our conclusion, we need not decide if
plaintiffs properly perfected their lien in the town land records. [3]&nbsp; 

¶ 20.&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Finally,
we reject plaintiffs’ assertion that the court should have entered a default
judgment against Hemingway.&nbsp; According to plaintiffs, the only requirement
for entry of default is a defendant’s failure to enter a verified answer; given
Hemingway’s failure to file such an answer, a default judgment should have
issued here.&nbsp; 

¶ 21.&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; It is
true that Rule 80.1(c) states that when a defendant fails to file “a verified
answer or answer supported by affidavits, disclosing facts alleged to
constitute a defense to plaintiff’s claim,” then “the clerk shall enter a
default, in accordance with Rule 55(a).”&nbsp; However, Rule 55 “commits
judgment by default to the trial court’s discretion.”&nbsp; DaimlerChrysler Servs. N. Am., LLC v. Ouimette,
2003 VT 47, ¶&nbsp;6, 175 Vt. 316, 830 A.2d 38.&nbsp;
In Ouimette, we held that the trial court had
discretion to conclude sua sponte
that the statute of limitations barred a plaintiff’s request for a default
judgment.&nbsp; We reach a similar conclusion here.&nbsp; The court had
discretion to refuse to enter a default judgment against Hemingway given its
conclusion that plaintiffs’ judgment lien had expired.&nbsp; 

Affirmed.


  &nbsp;
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  FOR THE COURT:
  
 
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  &nbsp;
  
  
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  &nbsp;
  
  
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  Associate
  Justice
  
 &nbsp;

&nbsp;

¶ 22.&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; ROBINSON,
J., dissenting.&nbsp;&nbsp; I agree with the
majority that a judgment may be renewed only by the filing of a new and
independent suit.&nbsp; Nelson v. Russo, 2008 VT 66
¶&nbsp;6, 184 Vt. 550, 956 A.2d 1117 (mem.).&nbsp;
See ante, ¶ 15.&nbsp; Had Hemingway objected to plaintiffs’ attempt in
2006 to secure a new amended judgment in the case initially resolved by the
2001 judgment, he likely would have prevailed.&nbsp; Likewise, had the trial
court declined to enter the 2006 judgment, I would have voted to affirm an
appeal of that determination.&nbsp; There is no basis in the Vermont Rules of
Civil Procedure for amending a judgment five years after its issuance for the
purpose of “updating” the judgment to account for accrued interest, payments
made toward principal, or a modified payment plan, in the absence of an
infirmity in the judgment itself.&nbsp; See V.R.C.P. 60; see also Nelson,
2008 VT 66, ¶¶ 8-9.&nbsp; The proper procedure is a separate and independent
action to enforce the judgment; in the context of such a proceeding, plaintiffs
are free to seek a new judgment reflecting the underlying judgment, amounts
paid toward that judgment, and interest accrued.&nbsp; See 12 V.S.A. §
506.&nbsp; For all of these reasons, had Hemingway objected, or had the trial
court balked, the 2006 order would not have stood.

¶ 23.&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; But
Hemingway did not object.&nbsp; He stipulated to the 2006 order.&nbsp;
The trial court exercised its discretion to enter an amended judgment pursuant
to the parties’ stipulation.&nbsp; That judgment is the judgment plaintiffs
allegedly recorded in the Alburgh land records.&nbsp;
That judgment is the judgment to which the judgment lien
invoked by plaintiffs allegedly attaches.[4]&nbsp; And that judgment is a final
judgment that is not subject to collateral attack.&nbsp; See Johnston v.
Wilkins, 2003 VT 56, ¶ 8, 175 Vt. 567, 830 A.2d 695
(mem.) (stipulated
settlement incorporated into court’s final judgment disposing of matter has
preclusive effect of final judgment).&nbsp; Moreover, the statute of
limitations for enforcing or renewing that judgment, and for invoking the
judgment lien, has not run.&nbsp; 12 V.S.A. §§&nbsp;506,
2903.&nbsp; 

¶ 24.&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; This
is where I part ways with the majority.&nbsp; The majority essentially
concludes that the 2006 order was not, for purposes of the statute of
limitations, a judgment at all.&nbsp; Rather, the majority holds, the only
relevant judgment was the 2001 judgment determining Hemingway’s initial debt to
plaintiffs—even though the 2001 judgment is not the judgment on which
plaintiffs have brought this action, and is not the judgment to which
the judgment lien asserted by plaintiffs allegedly attached.&nbsp; 

¶ 25.&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; I
cannot concur in the majority’s conclusion that the 2006 order was not in fact
a judgment for the purposes of the statute of limitations.&nbsp; I rely first
and foremost on the common understanding of the term “judgment.”&nbsp;
“Judgment” is not defined in the judgment lien statute, so we look to the
definitions of the term found in Rule 54(a) and case law.&nbsp; Rule 54(a)
defines judgment as “a decree and any order from which an appeal lies.”&nbsp;
We have repeatedly cited and applied this rule in our decisions, noting that
“[w]hether an order is appealable is left to case
law.”&nbsp; Iannarone v. Limoggio, 2011 VT 91, ¶&nbsp;17, 190 Vt. 272, 30 A.3d 655.&nbsp; “The test of finality ‘is whether it
makes a final disposition of the subject matter before the Court.’ ”&nbsp; Id.
(quoting Morrissette v. Morrissette,
143 Vt. 52, 58, 463 A.2d 1384, 1388 (1983)); see also Bach v. Dawson,
268 P.3d 1189, 1192 (Idaho Ct. App. 2012) (“As a judgment must function by its
character as a final determination of the parties’ rights in a lawsuit, whether
a document is a court order or a ‘judgment’ has long been held to be determined
not by the document’s title, but by its contents.”).&nbsp; Had the 2006 order
resulted from a nonstipulated court order, either
party clearly could have appealed.&nbsp; 

¶ 26.&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Significantly,
in other contexts, we have applied the common understanding of the meaning of a
“judgment” to issues other than the appealability of
a particular trial court order.&nbsp; See, e.g., Iannarone,
2011 VT 91, ¶&nbsp;17 (using Rule 54(a) definition of “judgment” in determining
whether final judgment existed for purposes of claim preclusion); see also Bach,
268 P.3d at 1192 (“As these sections are akin to a statute of limitations of an
enforceable judgment, what constitutes a ‘judgment’ should be based on a final,
appealable (and hence, enforceable) order in the case.”)&nbsp; 

¶ 27.&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; The
majority does not contest that for ordinary purposes the 2006 order was, in
fact, a judgment, but essentially crafts a separate definition of “judgment”
for the purposes of the statute of limitations.&nbsp; 12
V.S.A. § 2903.&nbsp; In so doing, the majority departs from our ordinary
presumption that the Legislature intends terms in statutes to have their
well-established legal meanings.&nbsp; See Morissette
v. United States, 342 U.S. 246, 263 (1952) (stating that when legislature
“borrows terms of art in which are accumulated the legal tradition and meaning
of centuries of practice, it presumably knows and adopts the cluster of ideas
that were attached to each borrowed word in the body of learning from which it
was taken”).&nbsp; 

¶ 28.&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; The
fact is, the statute of limitations draws no distinction between “original” and
“amended” judgments, and nothing in the language of the statute supports the
notion that “judgment” has a different meaning for the purposes of the statute
of limitations than for other purposes.&nbsp; See 12 V.S.A. §&nbsp;2903 (“A judgment
lien shall be effective for eight years from the issuance of a final
judgment on which it is based . . . .” (emphasis
added)). &nbsp;&nbsp;

¶ 29.&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; In
light of the above considerations, the 2006 order was clearly a judgment.&nbsp;
It made a final disposition of the issues before the trial court—plaintiffs’
claim to be paid pursuant to the 2001 judgment and defendant Hemingway’s
response that plaintiffs had forged check amounts.&nbsp; The fact that the
order was issued pursuant to stipulation rather than after a contested hearing
does not mean that it was any less a final judgment.&nbsp; Johnston,
2003 VT 56, ¶ 8. 

¶ 30.&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Moreover,
the 2006 order did not merely rehash the substance of the 2001 judgment.&nbsp;
It resolved a subsequent live dispute: how much did Hemingway owe plaintiffs
pursuant to that 2001 judgment?&nbsp; The 2006 order established new terms:
setting a new total judgment due, establishing terms of repayment that did not
exist in the initial judgment, and identifying a rate of interest—6% except if
Hemingway defaulted—that differed from the 2001 judgment.&nbsp; The 2006 order
cannot be characterized as “merely [a] continuation of an action, which
create[s] nothing anew, but may be said to reanimate that which before had
existence.”&nbsp; Corzo Trucking Corp. v. West, 61 So. 3d 1285, 1289 (Fla.
Dist. Ct. App. 2011) (quotation and alterations omitted) (distinguishing
between judgments in actions on judgment, which start limitations clock from
scratch, and post-judgment proceedings, which do not); see also Koerber v. Middlesex Coll., 136 Vt. 4, 8-9,
383 A.2d 1054, 1057 (1978) (describing common law writ to revive judgment that
“created nothing new, but rather was merely ‘the continuation of an action, a
step leading to the execution of a judgment already obtained, and enforcing the
original demand for which the action was brought.’ ” (quoting 2A Freeman, Law
of Judgments § 1091 (5th ed. 1925))).&nbsp; I see no reason to discount the
order’s status as a judgment merely because the dispute that it resolved was
itself predicated on a judgment.&nbsp; 

¶ 31.&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; In
addition, the 2006 order amended and thereby superseded the 2001
judgment.&nbsp; Plaintiffs could not thereafter seek to enforce the terms of
the 2001 judgment, and Hemingway could not thereafter defend that he had made
payments in compliance with the 2001 judgment.&nbsp; The only judgment
remaining to enforce is that reflected in the 2006 order.&nbsp; These
impacts—extinguishment of prior claims and judgments and defenses thereto—are
hallmarks of a judgment.&nbsp; See Restatement (Second) of Judgments §&nbsp;17
(1982) (discussing doctrine of merger).&nbsp; By contrast, rulings that are not
final judgments are generally subject to revision by the trial court prior to a
final judgment.&nbsp; Morrisseau v. Fayette,
164 Vt. 358, 363, 670 A.2d 820, 823 (1995) (“[U]ntil
final decree the court always retains jurisdiction to modify or rescind a prior
interlocutory order.” (quotation omitted)).&nbsp;
Because the 2001 judgment was effectively supplanted by the 2006 order, if
plaintiffs had thereafter expressly sought to renew or revive the 2001 judgment
pursuant to 12 V.S.A. §&nbsp;506, they could not have done so; that judgment
was no longer effective.&nbsp; The judgment plaintiffs sought to enforce in
this case, and the judgment to which their judgment lien allegedly relates, is
the judgment embodied in the 2006 order.

¶ 32.&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; The
majority’s multiple definitions of “judgment” for different purposes also creates potential practical problems.&nbsp; &nbsp;Rather
than promoting clarity, the majority’s approach injects uncertainty into the
business of enforcing judgments.&nbsp; How is one to know when a court judgment
that amends a prior judgment is a real judgment for statute of
limitations purposes, and when it is not?&nbsp; Is the court’s holding limited
to amended judgments that add interest and reflect an updated principal
balance?&nbsp; What if an amended judgment issued pursuant to Rule 60(b) flips
the obligor and obligee from the original
judgment?&nbsp; Does the newly-minted creditor have eight years from the date
of the original judgment—pursuant to which that party was required to
pay the other—even if the amended judgment came years later?&nbsp; See Estate
of Roxas v. Marcos, 214 P.3d 598, 606 (Haw. 2009)
(“Holding that the first-in-time judgment controls the statute of limitations
for [requests to extend] subsequent judgments would produce an absurd result
when the first-in-time judgment does not address or resolve any of the claims
ruled on by the subsequent judgment.”).&nbsp; One can even imagine the odd
situation in which post-trial relief to amend a judgment might be available—pursuant
to V.R.C.P. 60(b)(6), for example—but a party would then be foreclosed from
actually enforcing the amended judgment.

¶ 33.&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; My
approach no more invites a “continually moving statute of limitations” than the
majority’s.&nbsp; Ante, ¶ 19.&nbsp;
The majority does not contend that the eight-year limitations period is a
once-and-for-all limitation.&nbsp; The Legislature has established a mechanism
for reviving a judgment and extending a judgment lien, thereby essentially
starting the limitations clock anew.&nbsp; See 12 V.S.A. §§&nbsp;506,
2903(b).&nbsp; This process may, through successive renewals, keep a judgment
and judgment lien alive and enforceable indefinitely.&nbsp; The majority’s
concern is not with the fact of renewing judgments and the associated shift in
the statute of limitations applicable in a given controversy; the majority’s
concern is the procedure by which a party secures a renewed judgment.[5]&nbsp; 

¶ 34.&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; The
real problem here is the 2006 Order: it was not secured through the proper
procedure.&nbsp; Although apparently not uncommon, the practice of issuing an
amended judgment to reflect accrued interest and an updated principal balance
is not sanctioned by any statute or rule.&nbsp; To the extent the majority
implicitly so holds, we are on the same page.&nbsp; But insofar as that 2006
order became a final judgment, it was and is enforceable in its own right, an
appropriate basis for a judgment lien, and subject to its own statute of
limitations.&nbsp; For these reasons, I respectfully dissent. 


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  Associate Justice
  
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[1]
&nbsp;Apparently, in connection with the parties’ stipulation, plaintiffs did
not pursue the possessory writ of attachment that they had initially sought. 

&nbsp;





[2]&nbsp;
We cannot confirm based on this record which order was included—the 2001 order
or the 2006 “stipulated amended order.” 





[3]&nbsp;
We consider only plaintiffs’ foreclosure action premised on its judgment
against defendant Hemingway and do not consider any potential claims against
Hemingway for breach of contract based on the promises he made in 2006 and 2010, or against Harris as third-party beneficiaries of the
2010 agreement between Harris and Hemingway.&nbsp; See generally C.C. Marvel,
Part Payment or Promise to Pay Judgment as Affecting the Running of Statute of
Limitations, 45 A.L.R.2d 967 (1956); see also F. Chafee’s Sons v.
Blanchard’s Estate, 105 Vt. 389, 392, 165 A. 912, 913 (1933) (“A new
promise will revive the [contract] right of action whether made before or after
the statute [of limitations] has run.”); 12 V.S.A. §&nbsp;2902 (“The lien
created by this chapter shall be in addition to and separate from any other
remedy or interest created by law or contract.”) 





[4]
&nbsp;As the majority notes, we cannot confirm based on this record that the
2006 order was, in fact, the order secured by a judgment lien.&nbsp; Had we
reversed for the reasons set forth in this dissent, I would remand for a
determination of whether plaintiffs effectively recorded the 2006 judgment so
that they can foreclose on the lien.





[5]
&nbsp;Moreover, it is not clear why a “continually moving statute of limitations”
would be contrary to any statutory objective.&nbsp; The purpose of the statutes
limiting the enforcement of judgments and judgment liens is not to reward a
recalcitrant judgment debtor by providing a windfall if the adjudicated debtor
can just hold out long enough.&nbsp; “It is to make necessary the bringing of
an action within a reasonable time and thus prevent fraudulent and stale claims
from being brought at a time when witnesses have died or disappeared and
documentary evidence has been lost or destroyed.”&nbsp; Reed
v. Rosenfield, 115 Vt. 76, 79, 51 A.2d 189, 191
(1947).&nbsp; Because the 2006 order effectively decided any issues
concerning payment of the judgment that had arisen prior to that judgment, the
only issues concerning satisfaction of the judgment that a court could be asked
to address are those arising after the 2006 order—claims no older or more stale than the eight-year limitations statute contemplates.

&nbsp;







